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                                                                         CIVIL COVER SHEET
JS-44 (Rev. 3/16 DC)
 I. (a) PLAINTIFFS                                                                             DEFENDANTS
 NATIONAL VETERANS LEGAL SERVICES PROGRAM,                                                     United States of America
 NATIONAL CONSUMER LAW CENTER, and ALLIANCE
 FOR JUSTICE, for themselves and all others similarly
 situated
                                                                  11001
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________                          COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                    (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                      NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                                      ATTORNEYS (IF KNOWN)
Gupta	  Wessler	  PLLC      Motley	  Rice	  LLC      InsJtute	  for	  Public	  RepresentaJon                                   ASorney	  General	  of	  the	  United	  States
1735	  20th	  Street,	  NW 3333	  K	  Street	  NW  Georgetown	  University	  Law	  Center                                    United	  States	  Department	  of	  JusJce
Washington,	  DC	  20009 Suite	  450                  600	  New	  Jersey	  Avenue,	  Suite	  312                              950	  Pennsylvania	  Avenue,	  NW
(202)	  888-­‐1741           Washington,	  DC	  20007 Washington,	  DC	  20001                                                   Washington,	  DC	  20530-­‐0001
                              (202)	  232-­‐5504        (202)	  662-­‐9535
 II. BASIS OF JURISDICTION                                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                                PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

 o 1 U.S. Government              o 3 Federal Question                                                  PTF    DFT                                                           PTF         DFT

         Plaintiff                        (U.S. Government Not a Party)          Citizen of this State         o 1 o 1 Incorporated or Principal Place o 4 o 4
                                                                                                                                    of Business in This State
 o 2 U.S. Government              o 4 Diversity                                  Citizen of Another State      o 2 o 2 Incorporated and Principal Place o 5 o 5
         Defendant                         (Indicate Citizenship of
                                                                                                                       of Business in Another State
                                           Parties in item III)                  Citizen or Subject of a
                                                                                 Foreign Country
                                                                                                               o 3 o 3 Foreign Nation                   o6 o6
                                                      IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o A. Antitrust o B. Personal Injury/                                                o C. Administrative Agency                              o D. Temporary Restraining
                                          Malpractice                                            Review                                                  Order/Preliminary
       410 Antitrust                                                                                                                                     Injunction
                                     310 Airplane                                           151 Medicare Act
                                     315 Airplane Product Liability                                                                          Any nature of suit from any category
                                     320 Assault, Libel & Slander                     Social Security
                                                                                                                                             may be selected for this category of case
                                                                                           861 HIA (1395ff)
                                     330 Federal Employers Liability                                                                         assignment.
                                                                                           862 Black Lung (923)
                                     340 Marine
                                                                                           863 DIWC/DIWW (405(g))                            *(If Antitrust, then A governs)*
                                     345 Marine Product Liability
                                                                                           864 SSID Title XVI
                                     350 Motor Vehicle
                                                                                           865 RSI (405(g))
                                     355 Motor Vehicle Product Liability
                                                                                      Other Statutes
                                     360 Other Personal Injury
                                                                                           891 Agricultural Acts
                                     362 Medical Malpractice
                                                                                           893 Environmental Matters
                                     365 Product Liability
                                                                                           890 Other Statutory Actions (If
                                     367 Health Care/Pharmaceutical
                                                                                               Administrative Agency is
                                         Personal Injury Product Liability
                                                                                               Involved)
                                     368 Asbestos Product Liability


 o E. General Civil (Other)                                             OR                  o F. Pro Se General Civil
 Real Property                                Bankruptcy                                          Forfeiture/Penalty
      210 Land Condemnation                       422 Appeal 27 USC 158                                625 Drug Related Seizure of                   470 Racketeer Influenced
      220 Foreclosure                             423 Withdrawal 28 USC 157                                Property 21 USC 881                           & Corrupt Organization
      230 Rent, Lease & Ejectment                                                                      690 Other                                     480 Consumer Credit
      240 Torts to Land                       Prisoner Petitions                                                                                     490 Cable/Satellite TV
      245 Tort Product Liability                   535 Death Penalty                                                                                 850 Securities/Commodities/
      290 All Other Real Property                  540 Mandamus & Other                           Other Statutes                                         Exchange
                                                   550 Civil Rights                                   375 False Claims Act                           896 Arbitration
 Personal Property                                 555 Prison Conditions                              376 Qui Tam (31 USC                            899 Administrative Procedure
      370 Other Fraud                              560 Civil Detainee – Conditions                        3729(a))                                       Act/Review or Appeal of
      371 Truth in Lending                             of Confinement                                 400 State Reapportionment                          Agency Decision
      380 Other Personal Property                                                                     430 Banks & Banking                            950 Constitutionality of State
          Damage                              Property Rights                                         450 Commerce/ICC                                   Statutes
      385 Property Damage                         820 Copyrights                                          Rates/etc.                                 890 Other Statutory Actions
          Product Liability                       830 Patent                                          460 Deportation                                    (if not administrative agency
                                                  840 Trademark                                       462 Naturalization                                 review or Privacy Act)
                                                                                                          Application
                                              Federal Tax Suits                                       465 Other Immigration
                                                  870 Taxes (US plaintiff or
                                                                                                          Actions
                                                       defendant)
                                                  871 IRS-Third Party 26 USC 7609
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 o G. Habeas Corpus/                          o H. Employment                                o I. FOIA/Privacy Act                       o J. Student Loan
                2255                                 Discrimination
       530 Habeas Corpus – General                   442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                        (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                         national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                      discrimination, disability, age,
                                                         religion, retaliation)

                                             *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o K. Labor/ERISA                             o L. Other Civil Rights                        o M. Contract                               o N. Three-Judge
                (non-employment)                           (non-employment)                                                                     Court
                                                                                                   110 Insurance
       710 Fair Labor Standards Act                  441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                         Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                         443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                        440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                 445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                        Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act              446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                         Other                                         of Veteran’s Benefits
                                                     448 Education                                 160 Stockholder’s Suits
                                                                                                   190 Other Contracts
                                                                                                   195 Contract Product Liability
                                                                                                   196 Franchise


 V. ORIGIN
 o 1 Original          o 2 Removed          o 3 Remanded from o 4 Reinstated or o 5 Transferred from o 6 Multi-district o 7 Appeal to
        Proceeding           from State            Appellate Court             Reopened              another district              Litigation            District Judge
                             Court                                                                   (specify)                                           from Mag. Judge


 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
 28 U.S.C. § 1346(a) - recovery of illegal exaction by government officials when exaction based on statutory power

 VII. REQUESTED IN                          CHECK IF THIS IS A CLASS            DEMAND $                                       Check YES only if demanded in complaint
                                            ACTION UNDER F.R.C.P. 23                                                           YES                NO
      COMPLAINT                                                                     JURY DEMAND:

 VIII. RELATED CASE(S)                      (See instruction)                                                                  If yes, please complete related case form
                                                                                YES                      NO
       IF ANY
                   4/21/2016                                                                                              s/ Deepak Gupta
 DATE: _________________________                 SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.          COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                       of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.        CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                       under Section II.

           IV.         CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                       represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                       nature of suit found under the category of the case.

           VI.         CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.       RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                       the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
